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JS44 (Rev. 10/2020 NDGA) CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S) DEFENDANT(S)
Twin City fire Insurance Company, Hartford Insurance Ask Staffing, Inc.
Company of the Midwest, Hartford Casualty Insurance
Company, Property and Casualty Insurance Company of
Hartford, Hartford Accident and Indemnity Company, Sentinel
Insurance Company, Ltd., Trumbull Insurance Company,
Hartford Fire Insurance Company, and Hartford Underwriters
Insurance Company

(b) COUNTY OF RESIDENCE OF FIRST LISTED COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF Indiana and Connecticut DEFENDANT Fulton
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND ATTORNEYS (IF KNOWN)
E-MAIL ADDRESS)
Lawrence Lee Washburn IV and Alex F. Resnak;
Wilson, Elser, Moskowitz, Edelman and Dicker, LLP;
3348 Peachtree Road NE, Suite 1400, Atlanta, Georgia
30326; (470) 419-6650;
lee.washburn@wilsonelser.com,
alex.resnak@wilsonelse
ll. BASIS OF JURISDICTION Ill. CITIZENSHIP OF PRINCIPAL PARTIES
(PLACE AN “X” IN ONE BOX ONLY) (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)
PLF DEF PLF DEF
Ch U.S. GOVERNMENT C]s FEDERAL QUESTION C 1 LJ 1 CITIZEN OF THIS STATE CO 4 4 INCORPORATED OR PRINCIPAL
PLAINTIFF (U.S. GOVERNMENT NOT A PARTY) PLACE OF BUSINESS IN THIS STATE
Ch U.S. GOVERNMENT V1. DIVERSITY C1, UO, CITIZEN OF ANOTHER stare] 5 L, INCORPORATED AND PRINCIPAL
DEFENDANT (INDICATE CITIZENSHIP OF PARTIES PLACE OF BUSINESS IN ANOTHER STATE
IN ITEM IID
C1; CI; CITIZEN OR SUBJECT OFA C1. Cs FOREIGN NATION

FOREIGN COUNTRY

IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
C TC] O O TRANSFERRED FROM O MULTIDISTRICT APPEAL TO DISTRICT JUDGE
1 ORIGINAL 2 REMOVED FROM 3 REMANDED FROM 4 REINSTATED OR 5 ANOTHER DISTRICT 6 LITIGATION - 7 FROM MAGISTRATE JUDGE
PROCEEDING STATE COURT APPELLATE COURT REOPENED (Specify District) TRANSFER JUDGMENT

MULTIDISTRICT
8 LITIGATION -
DIRECT FILE

V. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY,

28 U.S.C. § 1332 and 28 U.S.C. § 1391. Cause of action - Breach of Contract.

(IF COMPLEX, CHECK REASON BELOW)

L 1. Unusually large number of parties. L 6. Problems locating or preserving evidence

0 2. Unusually large number of claims or defenses. CT 7. Pending parallel investigations or actions by government.
CI] 3. Factual issues are exceptionally complex CL] 8. Multiple use of experts.

CT] 4, Greater than norma! volume of evidence. C] 9. Need for discovery outside United States boundaries.
O 5. Extended discovery period is needed. Tho. Existence of highly technical issues and proof.

CONTINUED ON REVERSE

FOR OFFICE USE ONLY
RECEIPT # AMOUNT § APPLYING IEP MAG. JUDGE (IFP)

JUDGE, MAG. JUDGE NATURE OF SUIT. CAUSE OF ACTION.
(Referral)

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VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)

CONTRACT - "0" MONTHS DISCOVERY TRACK
LJ1s0 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT
(J 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans)
(2) 1s3 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
7] 110 INSURANCE
120 MARINE
L_} 130 MILLER ACT
140 NEGOTIABLE INSTRUMENT
151 MEDICARE ACT
160 STOCKHOLDERS’ SUITS
190 OTHER CONTRACT
195 CONTRACT PRODUCT LIABILITY
196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY
TRACK

210 LAND CONDEMNATION

220 FORECLOSURE

230 RENT LEASE & EJECTMENT

240 TORTS TO LAND

245 TORT PRODUCT LIABILITY

290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS
DISCOVERY TRACK
410 ALRPLANE
315 AIRPLANE PRODUCT LIABILITY
320 ASSAULT, LIBEL & SLANDER
330 FEDERAL EMPLOYERS' LIABILITY
340 MARINE
345 MARINE PRODUCT LIABILITY
350 MOTOR VEHICLE
355 MOTOR VEHICLE PRODUCT LIABILITY
360 OTHER PERSONAL INJURY
362 PERSONAL INJURY - MEDICAL
MALPRACTICE
365 PERSONAL INJURY - PRODUCT LIABILITY
oO 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY
(7) 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK

]370 OTHER FRAUD
[_] 37) TRUTH IN LENDING

380 OTHER PERSONAL PROPERTY DAMAGE
cE 385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY ="0" MONTHS DISCOVERY TRACK

422 APPEAL 28 USC 138
423 WITHDRAWAL 28 USC 157

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK
430 OTHER CIVIL RIGHTS

441 VOTING

442 EMPLOYMENT

443 HOUSING/ ACCOMMODATIONS

445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other

[] 448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK
| 462 NATURALIZATION APPLICATION

465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY

SOCIAL SECURITY - "0" MONTHS DISCOVERY

86] HIA (1395fF)

862 BLACK LUNG (923)
863 DIWC (405(g))

863 DIWW (405(g))

=
2
>
qo
Vs

864 SSID TITLE XVI
865 RSI (405(g))

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
TRACK
[-] 870 TAXES (U.S. Plaintiff or Defendant)
oO 871 IRS - THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY

TRACK

463 HABEAS CORPUS- Alien Detainee

510 MOTIONS TO VACATE SENTENCE

530 HABEAS CORPUS

535 HABEAS CORPUS DEATH PENALTY

540 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se

C_] 560 CIVIL DETAINEE: CONDITIONS OF
CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY.
TRACK

l ] 550 CIVIL RIGHTS - Filed by Counsel

oO 555 PRISQN CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
TRACK
LL] 625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
(C) 690 OTHER

LABOR - "4" MONTHS DISCOVERY TRACK
710 FAIR LABOR STANDARDS ACT
720 LABOR/MGMT, RELATIONS
740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION
791 EMPL. RET INC SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
TRACK

L_] 820 COPYRIGHTS

(-) 840 TRADEMARK

[CJ 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

PROPERTY RIGHTS - "8" MONTHS DISCOVERY,
TRACK
(J 830 PATENT
(CJ 335 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

TRACK

375 FALSE CLAIMS ACT

376 Qui Tam 31 USC 2729(a)

400 STATE REAPPORTIGNMENT

430 BANKS AND BANKING

450 COMMERCE/ICC RATES/ETC.

460 DEPORTATION

470 RACKETEER INFLUENCED AND CORRUPT

ORGANIZATIONS

480 CONSUMER CREDIT

485 TELEPHONE CONSUMER PROTECTION ACT

490 CABLE/SATELLITE TV

890 OTHER STATUTORY ACTIONS

89] AGRICULTURAL ACTS

893 ENVIRONMENTAL MATTERS

895 FREEDOM OF [NFORMATION ACT 899

899 ADMINISTRATIVE PROCEDURES ACT /
REVIEW OR APPEAL OF AGENCY DECISION

950 CONSTITUTIONALITY OF STATE STATUTES

D0 OOOO00WO cooo

OTHER STATUTES - "8" MONTHS DISCOVERY
TRACK
A 410 ANTITRUST
850 SECLIRITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - "0" MONTHS DISCOVERY.
TRACK

[1 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE. SEE LOCAL RULE 26.3

VIL. REQUESTED IN COMPLAINT:

O CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23
YES O NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

JURY DEMAND

DEMAND $ 156,600.00

VIII. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
C1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

C3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
(214. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE.

(5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
C6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

(7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
CIS NOT (check one box) SUBSTANTIALLY THE SAME CASE.

DISMISSED, This ‘case (1) IS

, WHICH WAS

Lad 2

uly 24, 2027

eo poanns OF ATTORNEY OF RECORD

DATE \
